                                                                 THIS ORDER IS APPROVED.


                                                                  Dated: April 6, 2018


 1   DIANNE C. KERNS, ESQ.
     CHAPTER 13 TRUSTEE                                          _________________________________
 2   PMB #413                                                    Scott H. Gan, Bankruptcy Judge
     7320 NORTH LA CHOLLA #154
 3   TUCSON AZ 85741
     Telephone (520)544-9094
 4   Fax (520)544-7894
 5

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 7                            UNITED STATES BANKRUPTCY COURT
 8                            IN AND FOR THE DISTRICT OF ARIZONA
 9

10   In re:                                        ) CHAPTER 13 PROCEEDINGS
                                                   )
11   JONATHAN DALE DRIVER                          ) Case No.: 4:16-bk-14588-SHG
                                                   )
12                                                 ) ORDER FOR PAYMENT OF
                                                   ) UNCLAIMED FUNDS TO THE
13                                                 ) U.S. BANKRUPTCY COURT
                                                   )
14                                                 )
                     Debtor                        )
15

16            UPON APPLICATION OF Dianne C. Kerns, Esq., Standing Chapter 13 Trustee, and
17   good cause appearing;
18
              IT IS HEREBY ORDERED that the Trustee pay over the amount of $6024.07 to the
19
     Clerk of the United States Bankruptcy Court pursuant to Bankruptcy Rule 3010, and Section
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     347(a) of the Bankruptcy Code.
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     ___________________________________________________________________________
23
                               SIGNED AND DATED ABOVE
24   ____________________________________________________________________________

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